    Case 2:12-cr-00087-WKW-CSC Document 914 Filed 09/23/20 Page 1 of 1



                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE MIDDLE DISTRICT OF ALABAMA
                          NORTHERN DIVISION

UNITED STATES OF AMERICA                   )
                                           )
       v.                                  ) CASE NO. 2:12-CR-87-WKW
                                           )             [WO]
DELMOND LEMAR BLEDSON                      )

                                      ORDER

      Defendant has filed a motion for compassionate release, as supplemented, in

which he seeks to modify an imposed term of imprisonment pursuant to 18 U.S.C.

§ 3582(c)(1)(A)(i). (Docs. # 893, 908.) Defendant was convicted of two counts:

(1) conspiracy to possess with intent to distribute powder cocaine and cocaine base,

in violation of 21 U.S.C. § 846; and (2) aiding and abetting possession with intent to

distribute powder cocaine, in violation of 21 U.S.C. § 841(a)(1) and 18 U.S.C. § 2.

(Doc. # 666, at 1.) As a result of his convictions, Defendant was sentenced to a term

of 188 months’ imprisonment. (Doc. # 666, at 2.)

      Upon a thorough review of the record, the court concludes that Defendant’s

motion is due to be denied for the reasons set out in the Government’s response

(Doc. # 904) and based upon a balancing of the 18 U.S.C. § 3553(a) factors.

Accordingly, it is ORDERED that Defendant’s motion for compassionate release,

as supplemented (Docs. # 893, 908), is DENIED.

      DONE this 23rd day of September, 2020.

                                            /s/ W. Keith Watkins
                                       UNITED STATES DISTRICT JUDGE
